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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                 )
                                          )                 8:11CB5
              Plaintiff,                  )                Violation Notice #2304830 NE14
                                          )                Violation Notice #2304831 NE14
                                          )
    vs.                                   )                  ORDER
                                          )
DARRELL ALLEN,                            )
                                          )
                 Defendant.               )
     The court has been presented a Financial Affidavit (CJA Form 23) signed
by the above-named defendant in support of a request for appointed counsel.
After a review of the Financial Affidavit, I find that the above-named
defendant is eligible for appointment of counsel pursuant to the Criminal
Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for
the District of Nebraska.
    IT IS ORDERED:
     The Federal Public Defender for the District of Nebraska is appointed to
represent the above named defendant in this matter. In the event that the
Federal Public Defender accepts this appointment, the Federal Public Defender
shall forthwith file an appearance in this matter. In the event the Federal
Public Defender should decline this appointment for reason of conflict or on
the basis of the Criminal Justice Act Plan, the Federal Public Defender shall
forthwith provide the court with a draft appointment order (CJA Form 20)
bearing the name and other identifying information of the CJA Panel attorney
identified in accordance with the Criminal Justice Act Plan for this district.
     IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order
to the Federal Public Defender for the District of Nebraska.
    DATED this 6th day of January, 2012.
                                          BY THE COURT:

                                          s/ Thomas D. Thalken
                                          United States Magistrate Judge
